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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------- X
KYLE SCOTT,                             :
                                        :
                Plaintiff,              : Case No.: _________________
                                        :
      -against-                         : COMPLAINT
                                        :
AGROFRESH SOLUTIONS, INC., ROBERT : DEMAND FOR JURY TRIAL
CAMPBELL, DENISE L. DEVINE, NANCE       :
DICCIANI, JORDI FERRE, GREGORY          :
FREIWALD, TORSTEN KRAEF, GEORGE         :
LOBISSER, and MACAULEY WHITING JR., :
                                        :
                Defendants.             :
--------------------------------------- X

       Plaintiff, Kyle Scott (“Plaintiff”), by his undersigned attorneys, alleges upon personal

knowledge with respect to himself, and information and belief based upon, inter alia, the

investigation of counsel as to all other allegations herein, as follows:

                                  NATURE OF THE ACTION

       1.        This is an action brought by Plaintiff against AgroFresh Solutions, Inc.

(“AgroFresh” or the “Company”) and Company’s board of directors (collectively referred to as

the “Board” or the “Individual Defendants” and, together with AgroFresh, the “Defendants”) for

their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (“Exchange

Act”), 15 U.S.C. §§ 78n(a) and 78t(a), SEC Rule 14a-9, 17 C.F.R. § 240.14a-9, and for breaching

their fiduciary duty of disclosure under Delaware State law.

       2.        On June 13, 2020, AgroFresh entered into an Investment Agreement (the

“Investment Agreement”) with PSP AGFS Holdings, L.P. (the “Investor”), an affiliate of Paine

Schwartz Partners, LLC (“PSP”).

       3.        Pursuant to the terms of the Investment Agreement, among other things, the




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Investor will purchase an aggregate of $150,000,000 of new preferred stock of the Company (the

“Proposed Transaction”).

       4.        On July 6, 2020, defendants filed a proxy statement (the “Proxy”) with the United

States Securities and Exchange Commission (“SEC”), which recommends AgroFresh’s

stockholders vote to approve the issuance of shares pursuant to the Investment Agreement at a

stockholder meeting scheduled for August 6, 2020.

       5.        As set forth below, the Proxy omits material information with respect to the

Proposed Transaction, which renders the Proxy misleading. Accordingly, plaintiff alleges herein

that defendants violated Sections 14(a) and 20(a) of the Exchange Act and breached their duty of

disclosure in connection with the Proxy.

                                 JURISDICTION AND VENUE

       7.         This Court has original jurisdiction over this action pursuant to Section 27 of the

Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff

alleges violations of Sections 14(a) and 20(a) of the Exchange Act.

       8.         The Court has supplemental jurisdiction over the state law claim for breach of the

duty of candor/disclosure pursuant to 28 U.S.C. § 1367.

       9.        Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over the Defendants by this Court permissible

under traditional notions of fair play and substantial justice. “Where a federal statute such as

Section 27 of the [Exchange] Act confers nationwide service of process, the question becomes

whether the party has sufficient contacts with the United States, not any particular state.” Sec. Inv’r




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Prot. Corp. v. Vigman 764 F.2d 1309, 1305 (9th Cir. 1985). “[S]o long as a defendant has minimum

contacts with the United States, Section of the Act confers personal jurisdiction over the defendant

in any federal district court.” Id. At 1316.

       10.       Venue is proper in this District under Section 27 of the Exchange Act and 28

U.S.C. § 1391, because Defendants are found or are inhabitants or transact business in this District.

Indeed, AgroFresh common stock trades on Nasdaq stock exchange, which is headquartered in

this District rendering venue in this District appropriate. See, e.g., United States v. Svoboda, 347

F.3d 471, 484 n.13 (2d Cir. 2003) (collecting cases).

                                               PARTIES

       11.       Plaintiff is, and at all relevant times has been, a shareholder of AgroFresh.

       12.       Defendant AgroFresh is a Delaware corporation and provider of science-based

solutions, data-driven technologies and experience-backed services to enhance the quality and

extend the shelf life of fresh produce. AgroFresh’s common stock is traded on the NASDAQ GS

Market under the ticker symbol “AGFS.”

       13.       Individual Defendant Robert Campbell is a director of the Company.

       14.       Individual Defendant Denise L. Devine is a director of the Company.

       15.       Individual Defendant Nance Dicciani is Chairman of the Board of the Company.

       16.       Individual Defendant Jordi Ferre is Chief Executive Officer and a director of the

Company.

       17.       Individual Defendant Gregory Freiwald is a director of the Company.

       18.       Individual Defendant Torsten Kraef is a director of the Company.

       19.       Individual Defendant George Lobisser is a director of the Company.

       20.       Individual Defendant Macauley Whiting Jr. is a director of the Company.




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       21.       The Individual Defendants referred to in ¶¶ 13-20 are collectively referred to

herein as the “Individual Defendants” and/or the “Board”, and together with AgroFresh they are

referred to herein as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

       I.       Background and the Proposed Transaction

       22.      AgroFresh is a leading global innovator and provider of science-based solutions,

data-driven technologies, and experience-backed services to enhance the quality and extend the

shelf life of fresh produce. For more than twenty years, the Company has been revolutionizing the

apple industry and has launched new innovative solutions in a variety of fresh produce categories,

including bananas, cherries, citrus, and pears.

       23.      Paine Schwartz Partners is a private equity firm focused exclusively on investment

opportunities in the fast-growing, dynamic global food and agribusiness sectors. The firm's

investment, operations and finance professionals invest throughout cycles across the food and

agribusiness value chain, and bring a collaborative and active management approach to portfolio

companies.

       24.      On June 15, 2020, the Individual Defendants caused AgroFresh to enter into the

Investment Agreement.

       25.      Pursuant to the terms of the Investment Agreement, among other things, the

Investor will purchase an aggregate of $150,000,000 of new preferred stock of the Company.

       26.      According to the press release announcing the Proposed Transaction:

       AgroFresh Solutions, Inc. (“AgroFresh” or the “Company”) (Nasdaq: AGFS), a
       global leader in produce freshness solutions, today announced that it has entered
       into an agreement to sell $150 million of newly issued convertible preferred stock
       to an affiliate of Paine Schwartz Partners, LLC (“Paine Schwartz” or “PSP”), a
       leading private equity firm focused exclusively on sustainable food chain investing.
       ...



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       Terms of the Investment

       On an as-converted basis, the preferred stock would initially represent
       approximately 36% of AgroFresh’s pro-forma common shares outstanding. In
       connection with the investment, AgroFresh would expand the size of its Board of
       Directors to ten members, with PSP initially designating two members of the Board.

       PSP’s $150 million convertible preferred stock investment carries a 16% dividend,
       with a minimum 8% payable in cash. The preferred stock will be convertible into
       shares of AgroFresh common stock at a conversion price of $5.00 per share,
       reflecting a nearly 100% premium to the Company’s 60-day volume-weighted
       average closing price. The PSP investment is subject to customary closing
       conditions, including the receipt of required regulatory approvals, and is contingent
       upon the successful refinancing of AgroFresh’s senior secured credit facility. The
       Company currently anticipates closing the PSP investment and the refinancing of
       its senior secured credit facility early in the third quarter of 2020.

       AgroFresh will file a Form 8-K with the Securities and Exchange Commission
       containing additional information regarding the terms of the convertible preferred
       stock.

       BMO Capital Markets acted as sole financial advisor and Greenberg Traurig, LLP
       acted as legal advisor to AgroFresh. Evercore acted as sole financial advisor and
       Kirkland & Ellis LLP as legal advisor to Paine Schwartz.

       II.     The Proxy Omits Material Information

       27.      Defendants filed the Proxy with the SEC in connection with the Proposed

Transaction.

       28.      As set forth below, the Proxy omits material information with respect to the

Proposed Transaction, which renders the Proxy misleading.

       29.      The Proxy fails to disclose a fair summary of the process and negotiations leading

up to the execution of the Investment Agreement.

       30.      The Proxy fails to disclose whether the Individual Defendants considered any

alternatives to the Investment Agreement.

       31.      The Proxy fails to disclose whether the Board retained or consulted with any




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financial advisors in connection with the Investment Agreement.

          32.    The Investment Agreement makes reference to of BMO Capital Markets (“BMO”)

as a potential broker, investment banker, or financial advisor, but the Proxy fails to disclose the

terms or purpose of their engagement, including: (i) the amount of compensation BMO has

received or will receive for its engagement; (ii) whether BMO has performed past services for any

parties to the Investment Agreement or their affiliates; (iii) the timing and nature of such services;

and (iv) the amount of compensation received by BMO for providing such services.

          33.    The Proxy fails to disclose any financial projections or financial analyses that the

Individual Defendants considered and relied upon in coming to their decision to approve the

Investment Agreement.

          34.    The above-referenced information is necessary for shareholders to fully and fairly

understand whether they should approve the Investment Agreement. The omission of this material

information renders the Proxy misleading.

          35.    The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s stockholders.

                                              COUNT I

           Against All Defendants for Violations of Section 14(a) of the Exchange Act

          36.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          37.    Section 14(a)(1) of the Exchange Act makes it “unlawful for any person, by the

use of the mails or by any means or instrumentality of interstate commerce or of any facility of a

national securities exchange or otherwise, in contravention of such rules and regulations as the

Commission may prescribe as necessary or appropriate in the public interest or for the protection




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of investors, to solicit or to permit the use of his name to solicit any proxy or consent or

authorization in respect of any security (other than an exempted security) registered pursuant to

section 78l of this title.” 15 U.S.C. § 78n(a)(1).

       38.       Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications shall not contain “any statement which, at the time and

in the light of the circumstances under which it is made, is false or misleading with respect to any

material fact, or which omits to state any material fact necessary in order to make the statements

therein not false or misleading.” 17 C.F.R. § 240.14a-9.

       39.       The omission of information from a proxy will violate Section 14(a) if other SEC

regulations specifically require disclosure of the omitted information.

       40.       Defendants have issued the Proxy with the intention of soliciting the Company’s

common shareholders’ support for the Proposed Transaction. Each of the Individual Defendants

reviewed and authorized the dissemination of the Proxy, which fails to provide critical

information to shareholders.

       41.       In so doing, Defendants made misleading statements of fact and/or omitted

material facts necessary to make the statements made not misleading. Each of the Individual

Defendants, by virtue of their roles as officers and/or directors, were aware of the omitted

information but failed to disclose such information, in violation of Section 14(a). The Individual

Defendants were therefore negligent, as they had reasonable grounds to believe material facts

existed that were misstated or omitted from the Proxy, but nonetheless failed to obtain and

disclose such information to the Company’s shareholders although they could have done so

without extraordinary effort.

       42.       The Individual Defendants knew or were negligent in not knowing that the Proxy




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is materially misleading and omits material facts that are necessary to render it not misleading.

The Individual Defendants undoubtedly reviewed and relied upon most if not all of the omitted

information identified above in connection with their decision to approve and recommend the

Proposed Transaction. The Individual Defendants knew or were negligent in not knowing that

the material information identified above has been omitted from the Proxy, rendering the sections

of the Proxy identified above to be materially incomplete and misleading. Indeed, the Individual

Defendants were required to be particularly attentive to the procedures followed in preparing the

Proxy and review it carefully before it was disseminated, to corroborate that there are no material

misstatements or omissions.

       43.      The Individual Defendants were, at the very least, negligent in preparing and

reviewing the Proxy. The preparation of a proxy statement by corporate insiders containing

materially false or misleading statements or omitting a material fact constitutes negligence. The

Individual Defendants were negligent in choosing to omit material information from the Proxy

or failing to notice the material omissions in the Proxy upon reviewing it, which they were

required to do carefully as the Company’s directors.

       44.      AgroFresh is also deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Proxy.

       45.      The misrepresentations and omissions in the Proxy are material to Plaintiff, who

will be deprived of his right to cast an informed vote on the Proposed Transaction if such

misrepresentations and omissions are not corrected prior to the special meeting of AgroFresh’s

shareholders. Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.




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                                             COUNT II

   Against the Individual Defendants for Violations of Section 20(a) of the Exchange Act

          46.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          47.    The Individual Defendants acted as controlling persons of AgroFresh within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of the Company, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the incomplete and misleading statements contained in

the Proxy filed with the SEC, they had the power to influence and control and did influence and

control, directly or indirectly, the decision making of the Company, including the content and

dissemination of the various statements that Plaintiff contends are materially incomplete and

misleading.

          48.    Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

          49.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control or influence the particular transactions giving rise to the Exchange Act

violations alleged herein, and exercised the same. The Proxy contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were thus directly involved in preparing this document.

          50.    By virtue of the foregoing, the Individual Defendants have violated Section 20(a)




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of the Exchange Act.

          51.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

by their acts and omissions as alleged herein. By virtue of their positions as controlling persons,

these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and

proximate result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

          52.    Plaintiff has no adequate remedy at law. Only through the exercise of this

Court’s equitable powers can Plaintiff be fully protected from the immediate and irreparable

injury that Defendants’ actions threaten to inflict.

                                             COUNT III

                    (Against the Individual Defendants for Breach of Their
                            Fiduciary Duty of Candor/Disclosure)

          53.    Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

          54.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          55.    By virtue of their role as directors and/or officers of the Company, the Individual

Defendants directly owed Plaintiff a fiduciary duty of candor/disclosure, which required them to

disclose fully and fairly all material information within their control when they sought

shareholder action, and to ensure that the Proxy did not omit any material information or contain

any materially misleading statements.

          56.    As alleged herein, the Individual Defendants breached their duty of

candor/disclosure by approving and/or causing the materially deficient Proxy to be disseminated



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to Plaintiff and the Company’s other public stockholders.

       57.       The misrepresentations and omissions in the Proxy are material, and Plaintiff

will be deprived of his right to cast an informed vote if such misrepresentations and omissions

are not corrected prior to the Shareholder Vote. Where a shareholder has been denied one of the

most critical rights he or she possesses—the right to a fully informed vote—the harm suffered is

an individual and irreparable harm.

       58.       Plaintiff has no adequate remedy at law. Only through the exercise of this

Court’s equitable powers can Plaintiff be fully protected from the immediate and irreparable

injury that Defendants’ actions threaten to inflict.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Directing the Individual Defendants to disseminate a Proxy that does not contain

any untrue statements of material fact and that states all material facts required in it or necessary

to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

       F.      Granting such other and further relief as this Court may deem just and proper.




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                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.


Dated: July 22, 2020                                MONTEVERDE & ASSOCIATES PC
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